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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,                    )
                                                  )
                                                  )
                           Plaintiff,             )
            v.                                    )
                                                  )
                                                  )
     WALTINE NAUTA, and                           )
     CARLOS DE OLIVEIRA,                          )
                                                  )
                           Defendants.            )
                                                  )

                                    RESPONSE TO NOTICE

            Defendants’ “Notice” alleging a violation of this Court’s temporary injunction is

     incorrect. There is nothing about the government’s email to counsel for President-elect

     Trump, the government’s submission to the Eleventh Circuit, nor the Attorney General’s

     letter to Congress that violates this Court’s Order.     Nor did the Special Counsel’s

     transmission of the Final Report to the Attorney General in any way violate the Order. The

     Court’s order prohibited (1) “releasing, sharing, or transmitting the Final Report or any

     drafts of such Report outside the Department of Justice” or (2) “otherwise releasing,

     distributing, conveying, or sharing with anyone outside the Department of Justice any

     information or conclusions in the Final Report or in drafts thereof.” Order, ECF No. 682.

     The government has complied with those instructions in all respects.

            To begin, Defendants are incorrect to suggest that the Special Counsel acted

     inappropriately in transmitting his Final Report to the Attorney General. See Notice, ECF

     No. 685, at 1-2. Nothing in the Court’s Order prohibited the Special Counsel from doing

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     so. Rather, the Court’s Order was explicit that the government was temporarily enjoined

     only from “releasing, sharing, or transmitting the Final Report or any drafts of such Report

     outside the Department of Justice.” Order, ECF No. 682, at 2 (emphasis added). Providing

     the Final Report to the Attorney General is in no way inconsistent with the clear terms of

     the Order. See also 28 C.F.R. 600.8(c) (stating that “[a]t the conclusion of the Special

     Counsel’s work, he or she shall provide the Attorney General with a confidential report”

     concerning his or her decisions).

            Nor did any of the government’s other statements identified by Defendants violate

     the Order in any way.      The relevant portion of the Order temporarily enjoined the

     government from sharing outside the Department “any information or conclusions in the

     Final Report or in drafts thereof.” Order, ECF No. 682, at 2 (emphasis added). The

     Department of Justice’s description of the matter as “significant” and conclusion that

     disclosure, when permitted, “is in furtherance of the public interest,” see ECF No. 685-1,

     at 3, did not reveal information in the Report. Rather, those statements reflect the

     Department’s characterization of the underlying investigations and prosecutions (which

     cannot reasonably be described as anything other than “significant”) and the Department’s

     determination of whether release of the Final Report “would be in the public interest,” a

     determination that the Attorney General is expressly authorized to make under Department

     regulations. 28 C.F.R. § 600.9(c).         Moreover, the Attorney General expressly

     acknowledged this Court’s injunction as a reason why neither the Final Report nor any of

     its contents could be transmitted at this time. See ECF No. 685-1, at 1 (“Pursuant to an

     Order issued on January 7, 2025, by Southern District of Florida United States District

     Judge Aileen M. Cannon, the Department of Justice is temporarily enjoined from sharing



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     the Report outside the Department of Justice and may not share any information or

     conclusions in the Report. United States v. Waltine Nauta and Carlos De Oliveira, No. 23-

     80101-CR-Cannon, ECF No. 89 (S.D. Fla. Jan. 7, 2025”)); see also id. at 2 (stating that the

     Department would not make public the Final Report until “permitted to do so by the

     court”). Indicating that the Department would provide the Final Report “when permitted

     to do so by the Court” does not reveal any information in the Final Report and obviously

     does not violate the Court’s order.

            The government is in full compliance with the Court’s Order.


     Dated: January 10, 2025                         Respectfully submitted,

                                                     JACK SMITH
                                                     Special Counsel
                                                     New York Bar No. 2678084

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General


                                                     _s/ Elizabeth J. Shapiro
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                                    CERTIFICATE OF SERVICE

               I hereby certify that on January 10, 2025, I electronically filed the foregoing paper

     with the Clerk of the Court using the ECF system, which sends notice to all counsel of

     record.

                                                     /s/ Elizabeth J. Shapiro
                                                     Elizabeth J. Shapiro




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